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   IN THE UNITED STATES DISTRICT COURT
   FOR THE EASTERN DISTRICT OF NEW YORK


    GROUP ONE LTD.

                                  Plaintiff,

                     v.                        1:20-cv-02205-MKB-JRC

    GTE GmbH and RALF WEIGEL,

                                Defendants.



               MEMORANDUM OF LAW IN SUPPORT OF GROUP ONE’S
                 MOTION TO MODIFY PERMANENT INJUNCTION
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                                          INTRODUCTION

          Group One moves for a modification of the permanent injunction based on new

   circumstances presented at and immediately after the Sept. 2022 conference, namely (1) USTA’s

   statement that it would defy any injunction tied to “infringement” of Group One’s patent and (2)

   the Court’s unexpected broadening of proposed section (d) of the injunction by inserting a

   reference to “infringement” while removing language that would have limited the injunction to

   only those tournaments that require use of a shot clock. With multiple TROs unable to prevent

   the last several years of infringement, the scope of the permanent injunction is of paramount

   importance. A reversion to the originally proposed language would resolve the Court’s repeated

   concern regarding continued infringement and contempt proceedings in 2023 and onwards.

                                             ARGUMENT

          The Court should modify the injunction based on its inherent powers and/or

   FED. R. CIV. P. 60(b)(5). “The source of the power to modify is of course the fact that an

   injunction often requires continuing supervision by the issuing court and always a continuing

   willingness to apply its powers and processes on behalf of the party who obtained that equitable

   relief.” System Fed’n No. 91 v. Wright, 364 U.S. 642, 647 (1961); Benjamin v. Jacobson, 172

   F.3d 144, 161-62 (2d Cir. 1999). Once the party seeking relief meets its burden of demonstrating

   that changed circumstances warrant modification of an injunction, it is an abuse of discretion not

   to grant such relief. Horne, 557 U.S. at 447.

           FED. R. CIV. P. 60(b)(5) permits a party to obtain relief from a judgment or order if,

   among other things, applying that judgment or order prospectively is no longer equitable. Horne

   v. Flores, 557 U.S. 433, 447 (2009); see Indep. Living Aids, Inc. v. Maxi-Aids, Inc.,

   69 F. App’x 4 (2d Cir. 2003); see Davis v. N.Y.C. Hous. Auth., 278 F.3d 64, 88 (2d Cir. 2002)
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    (“It is . . . well established that a district court has the power, in the exercise of its discretion, to

    modify its past injunctive decrees in order to accommodate changed circumstances.”). FED. R.

    CIV. P. 60(b) provides a means for parties to seek modification of an injunction “if a significant

       change either in factual conditions or in law renders continued enforcement detrimental to the

       public interest.” Horne, 557 U.S. at 447 (internal quotation marks omitted); see also Rufo v.

   Inmates of Suffolk Cnty. Jail, 502 U.S. 367, 384 (1992) (Modification may be appropriate where

   changed factual conditions make compliance with a decree substantially more onerous, where a

   decree proves to be unworkable because of unforeseen obstacles, or where enforcement of a

   decree without modification would be detrimental to the public interest.).


  I.      A SIGNIFICANT CHANGE IN CIRCUMSTANCES WARRANTS MODIFICATION

    A. Paragraph (c) of the Issued Permanent Injunction Is Tied to Infringement

              Group One proposed the following language for the permanent injunction: 1

                   Defendants and their directors, officers, agents, subsidiaries, affiliates,
                   successors, employees, representatives, suppliers, assigns, and all other
                   persons in active concert or privity or in participation with Defendants
                   or receiving notice of this Order are PERMANENTLY ENJOINED
                   AND RESTRAINED from:
                   a. Directly or indirectly infringing, or contributing in any way to
                   infringing any of the Asserted Patents that are owned or controlled by
                   Plaintiff through the making, using, selling, importation, and/or
                   offering for sale or use of any let detection system having, configured
                   to, or capable of having a shot clock function, including the “Trinity”
                   system, whether as a standalone device or in combination with other
                   elements;
                   b. Enabling, facilitating, permitting, assisting, soliciting, encouraging
                   or inducing others to directly or indirectly infringe, or contribute in any
                   way to infringing the Asserted Patents to manufacture, import,




    1
        Paragraph (c) of the issued permanent injunction corresponds to proposed section (d).


                                                         2
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               distribute, advertise, offer for sale or use, and/or sell infringing let
               detection systems; and
               c. Disseminating and/or perpetuating false and/or derogatory
               information or any opinion, evaluation, or alleged statement of fact,
               about Group One, its officers, about Group One and/or its let detection
               systems to any business or individual, including the Trinity
               Specification.
               d. For the avoidance of doubt, Defendants are specifically enjoined
               from importing any let detection system, including Trinity product,
               whether by sending or entering the U.S. with the product, for use at any
               tournament that employs a shot clock or observes the shot clock rule.
   (Dkt. 48-4 (emphasis added)).

          During the September 14, 2022, status conference, the Court stated:

               THE COURT: And that was the only other question I had as to
               paragraph, what you identify as D of the order, which is, again,
               including Trinity product, which to me, I understand it to be too broad
               and the limiting language I’m including after that is that it violates, that
               violates the asserted patents, so that there’s no confusion as to what the
               Court is enjoining. And with those changes, I will sign the permanent
               injunction based on the default decision of the amended complaint.
   (Davis Decl., Ex. A, Tr. 5:22-6:5). There was no discussion regarding the deletion of the

   language “for use at any tournament that employs a shot clock or observes the shot clock rule.”

          Group One’s counsel requested time until the following day to confer with his client and

   obtain approval. Immediately following the conference, however, Group One submitted a letter

   stating that “Group One has no objection to or further comment on the Court’s proposed revision

   to the language.” Dkt. 112. Group One assented to the wording of the permanent injunction

   based on the reasonable misunderstanding that section (d) would continue to include the




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   narrowing language “Trinity product . . . for use at any tournament that employs a shot clock or

   observes the shot clock rule.” 2

          The permanent injunction as issued, however, reads as follows:

               Defendants and their directors, officers, agents, subsidiaries, affiliates,
               successors, employees, representatives, suppliers, assigns, and all other
               persons in active concert or privity or in participation with Defendants
               and receiving notice of this Order are PERMANENTLY ENJOINED
               AND RESTRAINED from:
               a. Directly or indirectly infringing, or contributing in any way to
               infringing any of the Asserted Patents that are owned or controlled by
               Plaintiff through the making, using, selling, importation, and/or
               offering for sale or use of any let detection system having, configured
               to, or capable of having a shot clock function, including the “Trinity”
               system, whether as a standalone device or in combination with other
               elements;
               b. Enabling, facilitating, permitting, assisting, soliciting, encouraging
               or inducing others to directly or indirectly infringe, or contribute in any
               way to infringing the Asserted Patents to manufacture, import,
               distribute, advertise, offer for sale or use, and/or sell infringing let
               detection systems; and
               c. For the avoidance of doubt, Defendants are specifically enjoined
               from importing any let detection system, including Trinity product, that
               violates the Asserted Patents.
   (Dkt. 116) (emphasis added).

          Group One did not understand that the Court intended to insert the new phrase “violates

   the Asserted Patents” in lieu of the language that focused the injunction on only those

   tournaments that use the shot clock rule. The purpose of proposed section (d) was to avoid the



   2
     In other words, by limiting proposed section (d) only to those tournaments that employ the shot
   clock (and consequently require that there be a shot clock control), this is actually a narrower
   injunction that would not prohibit the use of Trinity (in whatever configuration or form) at
   tournaments that do not require a shot clock, e.g. the Davis Cup, World Team Tennis, and others,
   which only use the let detection system and nothing more. This means that, at the least, § 271(c)
   violations could not occur because the patent claim limitation of a “shot clock control” would not
   be present.


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   ambiguity about which the Court expressed concern at the conference. Proposed section (d)

   attempted to use plain language rather than refer to the concept of patent infringement, which

   USTA and Defendants have previously exploited as an open door to improperly argue the merits

   of an underlying patent case.

   B. USTA Announced that It Will Ignore Any Injunction Tied to Infringement

          During the status conference, counsel for non-party USTA wanted the Court to know that

   USTA “thinks” it is free and clear of any injunction that refers to infringement of the patents:

               ’MR. MCLAUGHLIN: ’. . . I’ve said this to Magistrate Judge Cho,
               and I’ll say it again here, that the USTA doesn’t believe it’s infringing.
               So if there’s an injunction out there that says don’t infringe these
               patents, you know, we think we’re clear of that. So I think that’s the
               USTA’s position.

   (Tr. 10:23-11:3). In deciding the present motion, the Court should not be concerned with the

   permanent injunction’s impact on any of Defendants’ customers, especially non-party USTA,

   which admitted, in opposing Group One’s attachment motion (Dkt. 118), that “USTA is not

   indebted to either Defendant GTE GmbH or Ralf Weigel and has no plans to issue any future

   payments to either of them in connection with the 2022 US Open or for any other reason.”

   (Dkt. 121) (emphases added). 3

          Not only has non-party USTA announced its intent to ignore an injunction against

   “infringement,” it is a foregone conclusion that, if Defendants and USTA do continue to do

   business with one another, then Defendants, too, will continue to perform the acts of contributory

   infringement and inducement to infringe that have led to USTA’s direct infringement for each of




   3
     Should non-party USTA attempt to interject itself again in matters limited to Group One and
   Defendants, this would add more weight to the conclusion that Defendants and USTA are
   continuing to act in privity and are indeed scheming to illicitly circumvent the currently issued
   injunction.


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   the past four years. 4 The Court may presume from the fact of the default itself that Defendants,

      its successors, suppliers, or any of the parties listed in preamble of the Permanent Injunction, will

      continue the offending conduct. “[T]he default gives rise to the inference that the [d]efendant is

      willing to continue to infringe . . . .” Mister Softee, Inc. v. Diaz, No. 19-CV-4857 (LDH) (PK),

      2020 U.S. Dist. LEXIS 118979, at *17 (E.D.N.Y. July 2, 2020); see also Aime Leon Dore v.

      Tastr, No. 20-CV-934 (MKB), 2021 U.S. Dist. LEXIS 253058, at *27 (E.D.N.Y. Jan. 5, 2021);

      Pearson Educ., Inc. v. Vergara, No. 09 Civ. 6832 (JGK)(KNF), 2010 U.S. Dist. LEXIS 101597,

      at *12 (S.D.N.Y. Sep. 27, 2010) (“A court may infer from a defendant’s default that it is willing

      to, or may continue its infringement.”).


II.      THE PROPOSED REVISION IS A REVERSION TO A NARROWER INJUNCTION

             During the status conference, the Court expressed concern that without reference to the

   Group One patents, section (d) could be too broad. To the contrary, the originally proposed

   language in section (d) was a narrower and more targeted injunction, as it would have only

   prohibited the importation of Trinity equipment for use at tournaments that follow the shot clock

      rule. In any tournament that follows the rule, the Trinity equipment must be used in an infringing

   manner, i.e. let detection in conjunction with a shot clock control button. If the permanent

      injunction were modified to the originally proposed language, Defendants would remain free to

   lawfully market their product for use in tournaments that do not follow the Rule such as the

   Davis Cup and the World Team Tennis, and other tournaments as they would only supply, and




   4
        In 2019, in addition to contributing to and inducing USTA’s infringement, Defendants directly
      infringed by housing the shot clock control button on the Trinity handset itself rather than on a
      secondary device, e.g. a mouse, a joystick (“secondary Trinity button”), or a scoring tablet.

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   the tournaments would only use, the let detection functions and not any shot clock control

   function.

          The original wording also avoids reference to an external document (a patent) or the need

   to conduct an analysis of such a technical document. “Every order granting an injunction and

   every restraining order must: . . . (C) describe in reasonable detail—and not by referring to the

   complaint or other document—the act or acts restrained or required.” FED. R. CIV. P. 65(d)(1)(C).

   Ideally, an injunction should describe the prohibited acts without referring to another document

   such as a patent. By doing so, the Court can fashion an order using plain language that does not

   require any technical analysis or allow for any dispute – legitimate or otherwise – as to what is

   prohibited. This eliminates the possibility of a party such as Defendants or USTA improperly

   and impermissibly challenging the underlying legal basis for an injunction by asserting that the

   underlying property right is invalid. See United States v. Rylander, 460 U.S. 752, 756 (1983).

   Finally, the originally proposed wording (“for use at any tournament that employs a shot clock or

   observes the shot clock rule”) acknowledges the patent claim language and the critical element

   that led to the ’341 Patent being issued.

          In at least one other default judgment case involving a patent, this Court has approved a

   proposed amendment that would narrow the scope of a permanent injunction. See Kaneka Corp.

   v. Purestar Chem Enter. Co., No. 16-CV-4861 (MKB) (SIL), 2018 U.S. Dist. LEXIS 109277, at

   *2 n.2 (E.D.N.Y. June 28, 2018) (approving amendment to injunction in default patent

   infringement case to limit scope to activities within the United States).


III.   PAST MISCONDUCT ALSO JUSTIFIES A REVERSION TO THE ORIGINAL
       PROPOSED LANGUAGE

          An injunction banning any Trinity or related equipment that will be used at a tournament

   employing the shot clock rule is justified here because of (1) USTA stating that it is “clear of”


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 any injunction that contains the word “infringe” and (2) the past misconduct of Defendants and

 USTA, both of which have demonstrated – for several years in a row – that the basic “legacy”

 Trinity equipment will be re-modified back to a fully infringing system by recombining it with a

 shot clock control button, despite those parties’ repeated false assurances to this Court, going

 back to 2020, that no infringement will occur. See May Stores Co. v. Labor Board, 326 U.S. 376,

 390-91 (1945); BlephEx, LLC v. Myco Indus., 24 F.4th 1391, 1398 (Fed. Cir. 2022) (affirming

 district court’s rejection of argument that PI was overbroad where product had hypothetical non-

 infringing uses, stating that “ample evidence supports a finding that an injunction against all

 sales of the AB Max product is necessary to avoid future infringement”); see also City of N.Y. v.

 Golden Feather Smoke Shop, Inc., No. 08-CV-03966 (CBA) (VMS), 2013 U.S. Dist. LEXIS

 47037, at *96 n.15 (E.D.N.Y. Mar. 29, 2013) (“[w]here a history of misconduct exists, courts

 may craft broad injunctions, even injunctions that sweep in legal activity, to prevent future

 violations”). “[A] district court has broad discretion to enjoin possible future violations of law

 where past violations have been shown . . . . Courts are free to assume that past misconduct is

 ‘highly suggestive of the likelihood of future violations.’” Fair Hous. Justice Ctr., Inc. v. Allure

 Rehab. Servs. LLC, No. 15 CV 6336 (RJD) (LB), 2017 U.S. Dist. LEXIS 157882, at *7

 (E.D.N.Y. Sep. 26, 2017) (quoting United States v. Carson, 52 F.3d 1173, 1183-84 (2d Cir.

 1995) (quoting SEC v. Mgmt. Dynamics, Inc., 515 F.2d 801, 807 (2d Cir. 1975))). Defendants’

 and USTA’s misconduct have been detailed in Group One’s briefs in support of Dkt. 82, a

 motion largely predicated on FED. R. CIV. P. 60(b)(3).

        At no time has USTA asserted that it will not need to supplement the Trinity® system

 with the shot clock control button. Nor has USTA ever asserted that it will change the shot clock

 rule that, since 2019, has been requiring USTA to infringe Group One’s patent rights by its




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 insistence on using the Trinity system (“legacy” or otherwise) as the material component of the

 let detection system which, when combined with the shot clock control, directly infringed the

 ’341 Patent.

        Putting aside the ample case law that directs a Court to do whatever is necessary to craft

 an injunction to successfully prevent further infringement, even if it means sweeping in legal

 activity, here it is not necessary to extrapolate from past misconduct or infringement to predict

 future misbehavior: USTA has declared its intent, deliberately and clearly, to this Court that any

 injunction predicated upon infringement of a Group One patent need not be complied with.

 USTA declares “we are fine with that” and “we are clear of that” and wanted the Court to know

 that this alone, with nothing other than their untested “belief,” nullifies any such injunction this

 Court could ever hand down.

        The Court is required to craft a permanent injunction that will function for its intended

 purpose: to stop the unlawful activity that the Court has already adjudicated and the irreparable

 harm that the Court has found Group One to have suffered for several years in a row. With the

 plain language of section (d) as proposed, the risk of sweeping in legal activity, although

 permissible, is avoided. The intent of the permanent injunction is achieved. Tournaments that

 lack the shot clock rule are fair game for Defendants to ply their trade by offering a non-

 infringing Trinity system. As long as such tournaments do not add back a shot clock control

 functionality – and they would have no need to – such tournaments would not directly infringe,

 and Defendants would not contribute to or induce such tournaments to infringe. Defendants are

 free to compete with Group One solely on a commercial level (i.e., without regard to Group

 One’s patents) in the “non shot clock market,” which is the vast majority of the many hundreds

 of professional, semi-professional, and other tournaments.




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        Here, the scope of the permanent injunction is of paramount importance where the market

 is small, and the potential for enforcement of a money judgment is also small. See Muniauction,

 Inc. v. Thomson Corp., 502 F. Supp. 2d 477, 482 (W.D. Pa. 2007) (“Plaintiff and defendants are

 direct competitors in a two-supplier market. If plaintiff cannot prevent its only competitor's

 continued infringement of its patent, the patent is of little value.”) (granting permanent

 injunction); Johns Hopkins Univ. v. Datascope Corp., 513 F. Supp. 2d 578, 586 (D. Md. 2007)

 (granting permanent injunction where infringing product was plaintiffs’ “only competition” and

 “thus, its sale reduce[d] the [p]laintiffs’ market share”); Transocean Offshore Deepwater

 Drilling, Inc. v. GlobalSantaFe Corp., Civ. No. 03-2910, 2006 U.S. Dist. LEXIS 93408, at *4

 (S.D. Tex. Dec. 27, 2006) (granting permanent injunction requiring structural modifications to

 infringing deepwater drilling rigs where “the customer base for deep water drill rigs is small, and

 [defendant] has not only used [its] rigs equipped with the infringing structure to compete for the

 same customers and contracts as [plaintiff], but also to win contracts over competing bids from

 [plaintiff]”). Here, the defaulting Defendants are located in Germany, are already

 undercapitalized, and are believed to have transferred assets to leave themselves further unable to

 satisfy a money judgment.

                                          CONCLUSION

        For the foregoing reasons, the Court should modify the permanent injunction (Dkt. 116)

 section (c) (adapted from originally proposed section 9(d)) as follows: “For the avoidance of

 doubt, Defendants are specifically enjoined from 5 importing any let detection system, including



 5
   Group One also proposes that the Court strike this introductory phrase to conform this section
 to the structure of sections (a) and (b) – using verbs to identify prohibited actions – and to make
 this section compatible with the injunction’s preamble: “Defendants and their . . . are
 PERMANENTLY ENJOINED AND RESTRAINED from:”


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 Trinity product, that violates the Asserted Patents for use at any tournament that employs a shot

 clock or observes the shot clock rule. The Court expressed concern during the Sept. 2022

 conference that there would be an annual repeat of the 2021 contempt proceedings. The presently

 proposed revision to the injunction will eliminate the need for further contempt proceedings and

 will, at the same time, serve the public good, prevent the fifth (5th) year of irreparable harm to

 Group One, and protect the integrity of the U.S. patent system and the federal courts.



  March 14, 2023                                    Respectfully submitted,




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